Case 1:19-cv-02367-ABJ Document 13 Filed 08/20/19 Page 1 of 13

UNITED STATES DISTRICT COURT
THE DISTRICT OF COLUMBIA

Movant David Andrew Christenson Civil Action No. 1:19-cv-2367-ABJ

Peter Strzok Judge Amy Berman Jackson
Plaintiff,

Vv.

William Barr, Attorney General, et. al.,

Defendants.

Motion for Reconsideration
Ask Strzok or Barr if they object. Ask them if they object based on the oath that they took.

> An individual, except the President, elected or appointed to an office of honor or profit in the civil
service or uniformed services, shall take the following oath: “I, AB, do solemnly swear (or affirm)
that | will support and defend the Constitution of the United States against all enemies, foreign
and domestic; that | will bear true faith and allegiance to the same; that | take this obligation
freely, without any mental reservation or purpose of evasion; and that | will well and faithfully
discharge the duties of the office on which | am about to enter. So help me God.” This section
does not affect other oaths required by law.

 

The enemies of the United States of America are Strzok and Barr. If Strzok truly believed in the oath that
he took he would withdraw his complaint.

Judge Jackson could issue a Motion for Summary Judgement for either party and be correct. What
criminal, Barr or Strzok, violated the Constitution the least.

Judge Jackson, do you object as an American, daughter, wife, parent, etc.? Don’t you want to know the
truth? Does your family object?

Our Republic (Not a Democracy) is 243 years old. Our founding fathers did everything they could to
protect us.

After 243 years of being a country are, we closer or farther away from being a “more perfect union”?
> Preamble of the Constitution: We the people of the United States, in order to form a more
perfect union, establish justice, insure domestic tranquility, provide for the common defense,
promote the general welfare, and secure the blessings of liberty to ourselves and our posterity,
do ordain and establish this Constitution for the United States of America.

Who is representing and protecting the American People? Who is protecting the Constitution?

The Department of Justice and the Federal Bureau of Investigation are protecting the government and
not the people.
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The Constitution is the “cognizable basis upon which the movant should be permitted to intervene in this
action”. First Amendment: Congress shall make no law respecting an establishment of religion, or
prohibiting the free exercise thereof; or abridging the freedom of speech, or of the press; or the right of
the people peaceably to assemble, and to petition the government for a redress of grievances.

Someone has to speak for the American People. Someone has to find the truth and tell it to them. Our
press is for profit, power, fame, sex, etc. Our press is not for “free speech”.

Attachment 1: The current (as of 08/16/2019) docket summary for Electronic Privacy Information v. DOJ
(19-5121) Court of Appeals for the D.C. Circuit. Over 75 of my pleadings have been docketed.

Attachment 2: Electronic Privacy Information v. DOJ (19-5121) Court of Appeals for the D.C. Circuit -
Notice 62 — Leonardo Del Vecchio and Claudio Del Vecchio denied my request for a leave and
communicated to me, in no uncertain terms, that the needs of Brooks Brothers/Luxottica/Essilor were
more important than my trying to saving Mankind.

© Thirty First Supplemental Petitions for Rehearing - Judicial Watch, Inc. v. United States
Department of Justice (19-5091) Court of Appeals for the D.C. Circuit, United States v. Roger
Stone, Jr. (19-3012) Court of Appeals for the D.C. Circuit, Jerome Corsi v. Robert Mueller, III (19-
5057) Court of Appeals for the D.C. Circuit.

e Notice 62 - Electronic Privacy Information (EPIC) v. Department of Justice (19-5121) Court of
Appeals for the D.C. Circuit.

e Motion to Intervene and Join: Application of The Committee on The Judiciary, U.S. House Of
Representatives, For an Order Authorizing the Release of Certain Grand Jury Materials - Movant
David Andrew Christenson - Civ. No. 1:19-gj-O0048-BAH - Chief Judge Beryl A. Howell - District
Court District of Columbia

® Motion to Intervene and Join: McCabe v. Barr - Movant David Andrew Christenson — Civ. No.
1:19-cv-02399-RDM - Judge Randolph Daniel Moss - District Court District of Columbia.

® Motion to Intervene and Join: Strzok V. Barr — Movant David Andrew Christenson — Civ. No.
1:19-cv-02367-ABJ - Judge Amy Berman Jackson — District Court District of Columbia.

e Democratic National Committee v. The Russian Federation — Movant David Andrew Christenson
— Civ. No. 1:18-cv-03501-JGK — Judge John George Koeltl District Court, S.D. New York

e Christenson v. Democratic National Committee — Movant David Andrew Christenson — Civ. No.
1:18-cv-05769-CM — Judge Colleen McMahon District Court, $.D. New York

Precedent Cases (A small sample)

Press Linterprise v. Superior Court: Access to Criminal Proceedings, First Amendment and Common Law
guarantee the public’s right of access to criminal judicial proceedings.

Nixon v. Warner Communications: The courts recognize the public’s right to inspect and copy judicial
records.

Washington Post v. Robinson: The public has an unquestionable right to information regarding alleged
prosecutor misconduct. The term is “alleged”. There is no doubt the Federal prosecutors have
committed criminal acts.

Leucadia v. Applied Extrusions Technologies: Access

Belo Broadcasting v. Clark: Access

Globe Newspaper v. Superior: The right of the public to monitor the government by having access.

 

 

 

 
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Richmond Newspaper v. Virginia: Without publicity, all other checks are insufficient.

Valley Broadcasting v. United States District Court: Federal Whistleblowers, Military Officers, Journalists,
etc. play an indispensable role in gathering and disseminating information to the public.

Landmark Communications v. Virginia: To guard against the miscarriage of justice. To stop prosecutor
misconduct before, during and after.

Cox Broadcasting v. Cohn: My pleadings will guarantee a fair trial.

Pansy v. Stroudsburg: Third parties have a right to intervene.

In re Associated Press 162 F.3d 503, 507 7th Circuit 1998, Grove Fresh Distributors v. EverFresh Juice, Beef
industry Antitrust Litigation 589 F.2d 786, 789 5th Circuit, United States v. Andreas, United States v.
Corbitt, United States v. Chaagra, United States v. Lohman, Marcus v. St. Tammany Parish School Board,
United States v. Cleveland, United States v. Davis, United States v. Carolllo and Ford Motor Bronco 1] MDL

 

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w Christenson

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David Andrew Christenson
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8/17/2019

Attachment 1

Court of Appeals Docket #: 19-5121
|| Nature of Suit: 2895 Freedom of Information Act of 1974
Electronic Privacy Informatio v. DOJ

 

Fee Status: IFP Pending USDC

 

19-5121 Docket

General Docket

Appeal From: United States District Court for the District of Columbia

Docketed: 04/26/2019 |

 

Case Type Information:
1) Civil US
2) United States
3)

 

 

Originating Court Information:
District: 0090-1 : 1:19-cv-00810-RBW
Court Reporter: Cathryn Jones
Trial Judge: Reggie B. Walton, U.S. Senior District Judge
Date Filed: 03/22/2019
Date Order/Judgment:

04/05/2019 04/16/2019

Date NOA Filed:

Lead: 1:19-cv-00810-RBW

 

 

Prior Cases:
None

Current Cases:
None

 

 

Panel Assignment: _Not available

 

 

 

 

 

 

 

 

Electronic Privacy Information Center
Plaintiff - Appellee

 

| United States Department of Justice
Defendant - Appellee

 

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[COR LD NTC Gvt US DOJ]

U.S. Department of Justice

 

 

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Attachment 1

David Andrew Christenson
Movant - Appellant

 

 

19-5121 Docket

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Washington, DC 20530

Sharon Swingle

Email: Sharon.Swingle@usdoj.gov
[COR NTC Gvt US DOJ]

U.S. Department of Justice

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8/17/2019 19-5121 Docket
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Plaintiff - Appellee

Vv.

United States Department of Justice,

David Andrew Christenson,

 

 

 

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Defendant - Appellee

Movant - Appellant

 

 

 

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NOTICE OF APPEAL [1784941] seeking review of a decision by the U.S. District Court in 1:19-cv-00810-
RBW filed by David Andrew Christenson. Appeal assigned USCA Case Number: 19-5121. [19-5121]
[Entered: 04/26/2019 04:01 PM]

SUPPLEMENT [1784942] to case opening document of decision of U.S. District Court (1784941-2] filed by
David Andrew Christenson [Service Date: 04/26/2019 ] [19-5121] [Entered: 04/26/2019 04:01 PM]

CLERK'S ORDER [1784946] filed directing party to file motion to proceed on appeal in forma pauperis or
payment of docketing fee. APPELLANT payment of docketing fee or motion to proceed in forma pauperis
in district court due 05/28/2019. Failure to respond shall result in dismissal of the case for lack of
prosecution. The Clerk is directed to mail this order to appellant by certified mail, return receipt requested
and by 1st class mail. [19-5121] [Entered: 04/26/2019 04:11 PM]

CERTIFIED MAIL and FIRST CLASS MAIL SENT [1784950] with return receipt requested [Receipt
No.7007 0710 0004 7196 8757] of order [1784946-2]. Certified Mail Receipt due 05/28/2019 from David
Andrew Christenson. [19-5121] [Entered: 04/26/2019 04:19 PM]

NOTICE [1785647] filed by David Andrew Christenson [Service Date: 04/27/2019 ] [19-5121] [Entered:
05/02/2019 11:13 AM]

NOTICE [1785649] filed by David Andrew Christenson [Service Date: 04/27/2019 ] [19-5121] [Entered:
05/02/2019 11:15 AM]

MOTION [1785650] to appoint counsel filed by David Andrew Christenson (Service Date: 04/27/2019 by
Email) Length Certification: 1 page. [19-5121] [Entered: 05/02/2019 11:16 AM]

MOTION [1785657] to appoint counsel filed by David Andrew Christenson (Service Date: 04/27/2019 by
Email) Length Certification: 1 page. [19-5121] [Entered: 05/02/2019 11:24 AM]

ENTRY OF APPEARANCE [1787 140] filed by Patrick G. Nemeroff and co-counsel Sharon Swingle on
behalf of Appellee DOJ. [19-5121] (Nemeroff, Patrick) [Entered: 05/09/2019 01:11 PM]

CERTIFIED MAIL RECEIPT [1787725] received from Christenson [signed for on 05/06/2019] for order
[1784950-2] sent to Appellant David Andrew Christenson [19-5121] [Entered: 05/14/2019 11:18 AM]

NOTICE [1788254] filed by David Andrew Christenson [Service Date: 05/13/2019 ] [19-5121] [Entered:
05/17/2019 10:40 AM]

NOTICE [1788255] filed by David Andrew Christenson [Service Date: 05/13/2019 ] [19-5121] [Entered:
05/17/2019 10:41 AM]

NOTICE [1788984] filed by David Andrew Christenson [Service Date: 05/18/2019 ] [19-5121] [Entered:
05/22/2019 02:24 PM]

NOTICE [1789455] filed by David Andrew Christenson [Service Date: 05/20/2019 ] [19-5121] [Entered:
05/24/2019 01:49 PM]

MOTION [1789474] leave to proceed in forma pauperis in the district court filed by David Andrew
Christenson [Service Date: 05/19/2019 ] Length Certification: 2 pages. [19-5121] [Entered: 05/24/2019
02:22 PM]

CLERK'S ORDER [1789479] filed referring motion ifp in district court [1789474-2] to the district court for
consideration., holding case in abeyance. Case 19-5121 held in abeyance pending decision in 19-810 from
U.S. District Court, The Clerk is directed to transmit a copy of this order and the original motion to the
district court. [19-5121] [Entered: 05/24/2019 02:29 PM]

NOTICE [1790158] filed by David Andrew Christenson [Service Date: 05/22/2019 ] [19-5121] [Entered:
05/30/2019 12:55 PM]

 

NOTICE [1790159] filed by David Andrew Christenson [Service Date: 05/24/2019 ] [19-5121] [Entered:
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NOTICE [1790163] filed by David Andrew Christenson [Service Date: 05/24/2019 ] [19-5121] [Entered:
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NOTICE [1791175] filed by David Andrew Christenson [Service Date: 05/31/2019 ] [19-5121] [Entered: |
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NOTICE [1791183] filed by David Andrew Christenson [Service Date: 06/01/2019 ] [19-5121] [Entered:
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NOTICE [1791185] filed by David Andrew Christenson [Service Date: 06/01/2019 ] [19-5121] [Entered:
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NOTICE [1792402] filed by David Andrew Christenson [Service Date: 06/07/2019 | [19-5121] [Entered:

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NOTICE [1792405] filed by David Andrew Christenson [Service Date: 06/06/2019 ] [19-5121] [Entered:

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NOTICE [1792385] filed by David Andrew Christenson [Service Date: 06/08/2019 ] [19-5121] [Entered:

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NOTICE [1792573] filed by David Andrew Christenson [Service Date: 06/07/2019 ] [19-5121] [Entered:

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NOTICE [1792939] filed by David Andrew Christenson [Service Date: 06/10/2019 ] [19-5121] [Entered:

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NOTICE [1792943] filed by David Andrew Christenson [Service Date: 06/10/2019 ] [19-5121] [Entered:

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NOTICE [1793075] filed by David Andrew Christenson [Service Date: 06/11/2019 ] [19-5121] [Entered:

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NOTICE [1794031] filed by David Andrew Christenson [Service Date: 06/17/2019 ] [19-5121] [Entered:

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NOTICE [1794124] filed by David Andrew Christenson [Service Date: 06/18/2019 ] [19-5121] [Entered:

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NOTICE [1795173] filed by David Andrew Christenson [Service Date: 06/21/2019 ] [19-5124] [Entered:

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NOTICE [1795185] filed by David Andrew Christenson [Service Date: 06/24/2019 ] [19-5121] [Entered:

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NOTICE [1795187] filed by David Andrew Christenson [Service Date: 06/24/2019 ] [19-5121] [Entered:

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NOTICE [1795575] filed by David Andrew Christenson [Service Date: 06/28/2019 ] [19-5121] [Entered:

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NOTICE [1797178] filed by David Andrew Christenson [Service Date: 07/05/2019 } [19-5121] [Entered:

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NOTICE [1797432] filed by David Andrew Christenson [Service Date: 07/11/2019 } [19-5121] [Entered:

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NOTICE [1797436] filed by David Andrew Christenson [Service Date: 07/12/2019 } [19-5121] [Entered:

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Attachment 2

UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA CIRCUIT

David Andrew Christenson — Appellant (Movant) Case: 19-5121
Vv. Civ. Action No. 19-810 - RBW
Appellee —- NA

(Electronic Privacy Information Center v. United States Department of Justice)

Notice 62 — Leonardo Del Vecchio and Claudio Del Vecchio denied my request for a leave and
communicated to me, in no uncertain terms, that the needs of Brooks Brothers/Luxottica/Essilor were
more important than my trying to saving Mankind.

| found this very paradoxical because their client/customer base is shrinking because of the Genocide of
Mankind. They advertise themselves to be a diversity company that wants the associates to be civically
active/engaged. | am just a part time sales associate/key holder who is trying to make a difference. |
notified them, with documentation, of the herculean effort that | am making to save Mankind and they
laughed at me. AT LEAST | AM TRYING TO MAKE A DIFFERENCE.

In 2018 the companies, owners and management discriminated against me and then they retaliated.
The retaliation and retribution continue to this day. | filed a complaint with the U.S. Equal Employment
Opportunity Commission (EEOC). The retaliation/retribution includes my losing my health insurance at
the end of this year. (see below)

Here is the most amazing part of the story. The store that | work in did not hire sales associates for the
peak selling season. Not only would they not give me a leave but they limited my hours to 29 per week
when they needed me to work 40 plus. They were vindictive and angry and would not let me work 40
hours per week. They sacrificed the profits of the companies to harm me.

| work for two of the richest people in the world and | make less than $22,000.00. The Federal Courts
have declared me to indigent.

Luxottica/Essilor has a vertical and horizontal monopoly throughout the world as an integrated company
that designs, manufactures, distributes and retails its eyewear brands. They have an unprecedented
internet and brick and mortar presence. They also employee thousands of optometrists that conduct
eye exams.

The following is a list of those that discriminated and retaliated against me:

Leonardo Del Vecchio owner Luxottica/Essilor and Brooks Brothers
Claudio Del Vecchio owner Brooks Brothers

Matteo Del Vecchio Chief Administrative Officer

Gianluca Tanzi Chief Operating Officer Brooks Brothers

Rachel! Barnett General Counsel

Adam Lelonek General Counsel

Nadia Droumbanis Special Counsel

Mary Pytko EVP, Global Human Resources/People Services

Lynne McDaniel Senior Human Resources Business Partner
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Attachment 2

Melvin Walls Director People Services
Mike Carter Regional Vice President
Carissa Goodwin District Manager
LaTonja McCants Store Manager

U.S. Equal Employment Opportunity Commission - My Charge/Complaint for Discrimination and
Retaliation/Retribution - EEOC Number: 510-2019-00125 - Status: Your charge has been assigned to
Investigator John J. Byrd. The charge of employment discrimination filed on 2019-02-07 with the U.S.
Equal Employment Opportunity Commission (EEOC) by David Christenson against BROOKS BROTHERS
GROUP, INC.

e Thirty First Supplemental Petitions for Rehearing - Judicial Watch, Inc. v. United States
Department of Justice (19-5091) Court of Appeals for the D.C. Circuit, United States v. Roger
Stone, Jr. (19-3012) Court of Appeals for the D.C. Circuit, Jerome Corsi v. Robert Mueller, It} (19-
5057) Court of Appeals for the D.C. Circuit.

e Notice 62 - Electronic Privacy Information (EPIC) v. Department of Justice (19-5121) Court of
Appeals for the D.C. Circuit.

e Motion to Intervene and Join: Application of The Committee on The Judiciary, U.S. House Of
Representatives, For an Order Authorizing the Release of Certain Grand Jury Materials - Movant
David Andrew Christenson - Civ. No. 1:19-gj-00048-BAH - Chief Judge Beryl A. Howell - District
Court District of Columbia

* Motion to Intervene and Join: McCabe v. Barr - Movant David Andrew Christenson — Civ. No.
1:19-cv-02399-RDM - Judge Randolph Daniel Moss - District Court District of Columbia.

¢ Motion to Intervene and Join: Strzok V. Barr — Movant David Andrew Christenson — Civ. No.
1:19-cv-02367-ABJ - Judge Amy Berman Jackson — District Court District of Columbia.

Godspeed >

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504-715-3086
davidandrewchristenson@gmail.com;
dchristenson6@hotmail.com;

  

~GERTIFIGATE\OF SERVICE
fo fw

f i s ~.
| hereby certify that on ales 13% 2019.1 filed-the foregoing with the Clerk of Court and
served the pléad ng onall couhsetofrecord-by e-mail and-first-class mail.

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David Andrew Christenson
